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~ EXHIBIT “B”
Case 3:23-cv-00711-KM Document 11-2 Filed 05/31/23 Page 2 of 9

City o Pitetou

35 Broad Street, Pittston, PA 18640
Phone: (570) 654-0513 = Fax: (570) 602-8246

 

DATE: May 8, 2019

RE: Condemned Building 385 North Main Street, Citv of Pittston
Notice to Raze Structure Pursuant to Property Maintenance Code

 

 

Dear Mr. Bruce:

lam writing concerning your above-captioned structure in the City of Pittston.
This structure includes a commercial unit on the first floor, and an apartment on the
second floor, and was condemned on 9/18/2014 due to multiple, serious, persistent,
unresolved violations of the International Property Maintenance Code (2009 edition)
adopted as the property maintenance code for the City of Pittston (Ordinance, File of
Council #9 of 2012).
The violations included, but were not limited to:
«electrical system violations (including, but not limited to: wiring/outlet/wire box
deficiencies; locations and conditions of electrical breaker boxes; location and

conditions of outlets and luminaires);

"accessibility and access issues related to, but not limited to stair risers, stair widths,
stairwell illumination, stair landings and stairwell fire ratings;

« infestation with rodents and insects;

» multiple water or otherwise damaged ceilings in living areas;

» questionable fire prevention code rating of wall and ceiling coverings;

«kitchen and bathroom areas lacking required venting;

«plumbing violations related to venting; interconnections of piping of different
materials, lack of sewer cleanouts;

«severely deteriorated roofing shingles and large hole in the roof.
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City of Pittston

35 Broad Street, Pittston, PA 18640
Phone: (570) 654-0513 Fax: (570) 602-8246

 

= structural deficiencies due to water penetration (exterior walls on the south and
north sides of the structure have exceeded the designed limits and are now leaning
over 12 inches out of plumb from the footer to the roof line and in danger of
collapse) the building is of plank frame construction.

« cellar walls were seen to be deteriorated and collapsing in many areas and mold
was also evident.

Due to the condemnation and the current condition of the property, it is my opinion, after
consultation with an engineer, that this property is so deteriorated and dilapidated that it
is dangerous, unsafe, insanitary and otherwise unfit for human habitation or occupancy
and it is no longer able to be repaired.

This building continues to pose a risk to emergency personnel and nearby residents,
and we are therefore ORDERING the structure be razed within thirty (30) days in
accordance with Section 110.1 General Demolition of the Property Maintenance
Code, to wit:

“The code official shall order the owner of any premises upon which is located any
structure, which in the code official judgment after review is so deteriorated or
dilapidated or has become so out of repair as to be dangerous, unsafe, insanitary or
otherwise unfit for human habitation or occupancy, and such that it is unreasonable
to repair the structure, to demolish and remove such structure”

PURSUANT TO SECTION 110.3 OF THE PROPERTY MAINTENANCE CODE, YOUR FAILURE
TO COMPLY WITH THIS DEOMOLITION ORDER WITHIN THIRTY (30) DAYS WILL RESULT
IN THE DEMOLITION OF THE PROPERTY BY THE CITY OF PITTSTON WITH ALL COSTS
BEING CHARGED AGAINST THE REAL ESTATE,

Additionally, until the building is razed, since there are ongoing complaints from
adjacent properties of rats and mice coming from the condemned structure, which is
a violation of Section 302.5 Rodent Harborage, we are requiring that the structure be
regularly treated by a professional exterminator to abate said ro dent harborage.
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City of Pittetow

35 Broad Street, Pittston, PA 18640
Phone: (570) 654-0513 Fax: (570) 602-8246

 

This building must also be kept secured at all times in accordance with Property
Maintenance Code Section 108.2 Closing of Vacant Structures.

Failure to comply may result in the issuance of a non-traffic citation for each violation of
the property maintenance code for day the offense continues. Upon conviction, a fine of not
less than $500.00 or more than $2,500.00 and court costs will be imposed per violation,
and a lien may be placed on the property.

Appeals of this enforcement action under the property maintenance code may be filed
within twenty (20) days by filing an application with the City of Pittston Property
Maintenance Code Appeals Board, as set forth in Section 111 of the property maintenance
code. Please contact the city’s administrative offices for the required forms and fee
schedule to file this type of appeal.

Thank you.

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arry Smith
Code Enforcement Officer
Case 3:23-cv-00711-KM Document 11-2 Filed 05/31/23

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Track Another Package +

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Get Updates \/

 

 

 

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Can’t find what you’re looking for?

Go to our FAQs section to find answers to your tracking questions.

FAQs (https://www.usps.com/faqs/uspstracking-faqs.htm)
Case 3:23-cv-00711-KM Document 11-2 Filed 05/31/23 Page 7 of 9

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Case 3:23-cv-00711-KM Document 11-2 Filed 05/31/23 Page 8 of 9
RETU™ | OF SERVICE NOTE

El Paso County Sheriff

27 E. Vermijo Avenue
Colorado Springs, CO 80903
5/23/19

Case Number:

Rev date/time: 5/22/2019 8:51 AM

Court: CITY OF PITTSTON

County: EL PASO
State: CO

Writ(s):
LETTER

CITY OF PITTSTON
Vs
DOUGLAS E BRUCE

Personally deliver to person to serve or to a business

Service Number: 19003771

Court Date:
Serve: DOUGLAS E BRUCE

Served Date: 5/23/2019
Service Time: 10:35:00 AM

Deputy: AMANDA HARRIS

Address: 4545 IRON HORSE TRAIL
COLORADO SPRINGS, CO 80917

Served Name: DOUGLAS E BRUCE

 

CITY OF PITTSTON
35 BROAD STREET
PITTSTON, PA 18640

Final Status: SERVED

Fees Paid: 45.70

Final Fees: $45.70

Refund Amt: Refund Check #
Clerk: AO,

Amt Due: $0.00
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State of Colorado Return of Service
County of El Paso
Case Number:

Plaintiffs vs. Defendants
CITY OF PITTSTON DOUGLAS E BRUCE

DEPUTY AMANDA HARRIS is sworn upon oath to be over the age of eighteen years; is not a
party to the within action; Is an employee of the Sheriff's Office in and for the County of El
Paso, State of Colorado; and has duly served the within

LETTER

to DOUGLAS E BRUCE: by personally handing a true copy to and leaving the same with.

 

 

PERSON TO BE SERVED PLACE OF SERVICE DATE AND TIME
DOUGLAS E BRUCE 4545 IRON HORSE TRAIL 5/23/2019
COLORADO SPRINGS, CO 80917 10:35 AM

Sheriff Costs: $45.70

Service Number: 19003771

WILLIAM D. ELDER, SHERIFF

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SB EPUTY AMANDA HARRIS

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Subscribed and sworn to before me this ay day of “NAA. 20'4
My commission expires OQ-IS- QOa] U

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BETSY A. HARRISON ¢
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